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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


ANDREW FIRSTMAN, MARK                         )
HORNCASTLE, and                               )
CHRISTIAN CRAM,                               )
                                              )
      Petitioner,                             )
                                              )
v.                                            )      CIVIL ACTION
                                              )
CREDIT SUISEE SECURITIES                      )      FILE NO. 1:19-cv-04025-CAP
(USA), LLC                                    )
                                              )
      Respondent.                             )
                                              )


        RESPONDENT’S NOTICE OF FILING APPENDIX TO
BRIEF IN OPPOSITION TO PETITION TO CONFIRM AND IN SUPPORT
 OF APPLICATION BY MOTION TO VACATE ARBITRATION AWARD

      RESPONDENT Credit Suisse Securities (USA) LLC hereby gives notice of

filing the Appendix to Brief in Opposition to Petition to Confirm and in Support of

Application by Motion to Vacate Arbitration Award.

      Respondent has prepared this appendix to provide this Court with a reference

to allow it to more easily review the relevant portions of the record. Attached hereto

and submitted herewith is a chart reflecting the location of citations to the record in

the Brief in Opposition to Petition to Confirm and in Support of Application by


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Motion to Vacate Arbitration Award, the Arbitration Citation, and the corresponding

Record Citation.

      This 9th day of July, 2020.


                                      Respectfully submitted,

                                      SMITH, GAMBRELL & RUSSELL, LLP


                                      /s/ Leah Ward Sears
                                      Leah Ward Sears
                                      Georgia Bar No. 633750
                                      Colin Đặng Delaney
                                      Georgia Bar No. 216858
                                      Greg K. Smith
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                                      Credit Suisse Securities (USA) LLC




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             IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION
---------------------------------- X
                                      :
ANDREW FIRSTMAN,                      :
MARK HORNCASTLE, and                  :
CHRISTIAN CRAM,                       :
                  Petitioners,        : Case No. 1:19-cv-04025-CAP
                                      :
         -v-                          :
                                      :
CREDIT SUISSE SECURITIES (USA) LLC,   :
                                      :
                  Respondent.         :
---------------------------------- X

                        CERTIFICATE OF SERVICE

       The undersigned counsel for Respondent Credit Suisse Securities (USA) LLC
hereby certifies that on this day he caused the foregoing RESPONDENT’S
NOTICE OF FILING APPENDIX TO BRIEF IN OPPOSITION TO
PETITION TO CONFIRM AND IN SUPPORT OF APPLICATION BY
MOTION TO VACATE ARBITRATION AWARD
to be electronically filed with the Clerk of Court using the CM/ECF system, which
will automatically send email notification of such filing sufficient to constitute
service to the following:

                             Christina Baugh, Esq.
                          Adam Gajadharsingh, Esq.
                           Barnes & Thornburg LLP
                      3475 Piedmont Road NE, Suite 1700
                            Atlanta, Georgia 30305

Counsel for Petitioners Andrew Firstman, Mark Horncastle, and Christian Cram.

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This 9th day of July, 2020.



                              /s/ Leah Ward Sears
                              Leah Ward Sears
                              Georgia Bar No. 633750

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